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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

 LUCILLE JEFFERSON                                         CIVIL ACTION
 VERSUS                                                    NO: 18-cv-4641
 NICHOLLS STATE                                            SECTION: "H"(1)
 UNIVERSITY, ET AL.



      The record reflects that a Notice of Removal has been filed in the captioned
case; accordingly,
      Pursuant to 28 U.S.C. 1447(b), the removing party is directed to file within
14 days:
      (1)      A list of all parties still remaining in this action;
      (2)      Copies of all pleadings, including answers, filed by those parties in
               state court; and
      (3)      Copies of the return on service of process on those parties filed in
               state court.
      New Orleans, Louisiana, May 7, 2018


                                                      By Direction of the Court




                                                      WILLIAM W. BLEVINS
